Case 10-93904-BHL-11          Doc 1093 Filed 03/16/12 EOD 03/16/12 13:12:43                       Pg 1 of 2
                             SO ORDERED: March 16, 2012.




                             ______________________________
                             Basil H. Lorch III
                             United States Bankruptcy Judge




                       IN THE UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF INDIANA
                                 NEW ALBANY DIVISION

 IN RE:                                              )       Chapter 11
                                                     )
 EASTERN LIVESTOCK CO., LLC                          )       Case No. 10-93904-BHL-11
                                                     )
                        Debtor.                      )       Hon. Basil H. Lorch III

               ORDER GRANTING APPLICATION TO EMPLOY KEN BYRD
                    REALTY & AUCTION, INC. AS AUCTIONEER

                Upon the Application To Employ Ken Byrd Realty & Auction, Inc. as Auctioneer

 ("Application") filed by James A. Knauer, the chapter 11 trustee appointed in this case

 ("Trustee"), and after a hearing, the Court, based on the record before it, finds that (i) it has

 jurisdiction over the matters raised in the Application pursuant to 28 U.S.C. §§ 157 and 1334;

 (ii) this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); (iii) the relief requested in the

 Application is in the best interests of the Debtor, its estate, and creditors; (iv) proper and

 adequate notice of the Application and the hearing thereon has been given and that no other or

 further notice is necessary; (v) Ken Byrd Realty & Auction, Inc. (a) holds no interest adverse to

 the Debtor or its estate in the matters upon which it is sought to be engaged; (b) is a disinterested
Case 10-93904-BHL-11                Doc 1093        Filed 03/16/12        EOD 03/16/12 13:12:43              Pg 2 of 2




 person as that term is defined pursuant to 11 U.S.C. § 101(14) and as required by 11 U.S.C. §

 327; and (c) has disclosed any connections with parties as required by Bankruptcy Rule 2014;and

 (vi) upon the record herein after due deliberation thereon, good and sufficient cause exists for the

 granting of the relief as set forth herein.

            Therefore, IT IS HEREBY ORDERED THAT:

                     1.       The Application is granted on a final basis.

                     2.       The Trustee is authorized to employ Ken Byrd Realty & Auction, Inc. as

 auctioneer for the Trustee pursuant to 11 U.S.C. §§ 328 and 330 and the terms and conditions of

 the Application and the Auction Listing Contract attached to the Application as Exhibit A.

                     3.       For purposes of Rule B-6005-1 of the Local Rules of the United States

 Bankruptcy Court for the Southern District of Indiana, the "date of the sale" shall be the earlier

 of i) the date that Ken Byrd Auction receives the Gross Sales Proceeds1 and ii) the date the

 Trustee receives his share of the Net Sales Proceeds (if Peoples submits the successful bid at the

 auction).

                     4.       The bond requirements of Local Rule B-6005-1 are hereby waived.

                                                           ###




 1
     Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Application.
